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                           22-3086
                          Document       NO.
                                   #1997765
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      [ORAL ARGUMENT HAS NOT BEEN SCHEDULED]

                                             In The

United States Court Of Appeals
                   For The D.C. Circuit
                 UNITED STATES OF AMERICA,
                                                                         Plaintiff – Appellee,

                                                 v.

                          STEPHEN K. BANNON,
                                                                         Defendant – Appellant.

             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                    ______________

                            BRIEF OF APPELLANT
                               ______________




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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES
                   (CIRCUIT RULE 28(A)(1))

Parties and Amici:

      The following parties and amici have appeared in this case:

1. Stephen K. Bannon, Defendant/Appellant;

2. House Minority Leadership, Amici;

3. United States of America, Appellee;

4. United States House of Representatives, Amici.

Rulings Under Review: (District Court Judge: Hon. Carl J. Nichols)

April 6, 2022 Order granting Government’s Motion to in Limine to Exclude
Evidence or Argument Relating to Good-Faith Reliance on Law or Advice of
Counsel (A741). U.S. v. Bannon, 2022 U.S. Dist. LEXIS 132863, 2022 WL
2900620 (D.D.C., April 6, 2022);

June 15, 2022 Oral Order denying Defendant’s Motion to Dismiss the Indictment
(A2341-2358). No reported citation exists;

July 11, 2022 Oral Order granting, inter alia the Government’s Omnibus Motion in
Limine, barring the defenses of entrapment by estoppel, public authority, and
reliance on OLC Opinions, granting motion to quash trial subpoenas, barring
challenges to the validity of the subpoena, etc. (A2879-3030). No reported citation
exists; July 27, 2022 Order denying motion for judgment of acquittal. (A4593).
No reported citation exists;

September 2, 2022 Order denying motion for new trial and supplement to motion
to dismiss. (A4682). No reported citation exists;

July 21, 2022 Oral Order on, inter alia, jury instructions. (A4360-4383). No
reported citation exists;

October 21, 2022 Judgment. (A4767). No reported citation exists;

See also references to rulings in the Brief.


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                     STATEMENT OF RELATED CASES

      There are no related cases, other than the case consolidated for appeal with

the main case. See November 21, 2022 Minute Order consolidating 22-mc-60 with

1:21-cr-00670-CJN-1 for appeal.




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               STATEMENT REGARDING ORAL ARGUMENT

      Mr. Bannon respectfully submits that oral argument is both necessary and

appropriate in this case. There are important constitutionally significant issues at

stake and oral argument concerning those issues should benefit the Court. Among

other issues, this appeal asks the Court to reconsider or modify its decision in

Licavoli v. U.S., 294 F.2d 207 (D.C. Cir. 1961) and the factors surrounding that

issue make oral argument especially appropriate. Indeed, in its oral sentencing

Order, the district court identified four arguments that raise “substantial questions”

for appeal (A4763) and in granting bail pending appeal, the district court expressly

found that this appeal “raises a substantial question of law that is likely to result in

a reversal or an order for a new trial.” (A4779)




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                         JURISDICTIONAL STATEMENT

         This Court has jurisdiction pursuant to 28 U.S.C. §1291 over this appeal

from the district court’s October 21, 2022, judgment of conviction and sentence

(A4767). A timely notice of appeal was filed on November 4, 2022 (A4772). On

November 11, 2022, the district court entered a Minute Order consolidating for

appeal 22-mc-60 with 1:21-cr-00670-CJN-1 (A23). The district court had

jurisdiction over this case under 18 U.S.C. §3231.

          STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

   I.       THE LOWER COURT’S DECISIONS EXCLUDING MR.
            BANNON’S DEFENSES VIOLATED HIS RIGHTS UNDER THE
            5TH AND 6TH AMENDMENTS TO THE UNITED STATES
            CONSTITUTION.

   II.      THE LOWER COURT’S DECISION GRANTING THE MOTION
            TO QUASH TRIAL SUBPOENAS VIOLATED MR. BANNON’S
            RIGHTS UNDER THE 5TH AND 6TH AMENDMENTS.

   III.     THE LOWER COURT ERRED IN DENYING THE MOTION TO
            DISMISS THE INDICTMENT AND IN REFUSING TO ALLOW
            MR. BANNON TO MAKE ARGUMENTS REGARDING THE
            SUBPOENA’S VALIDITY.

                         STATUTES AND REGULATIONS

         Relevant statutes, rules, and constitutional provisions are in the Addendum.

Circuit Rule 28(a)(5)




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                          STATEMENT OF THE CASE

Nature of the Case and Relevant Procedural History

      This appeal is from the judgment of conviction and sentence entered in this

case, following a jury trial in the United States District Court for the District of

Columbia, on a November 11, 2021, indictment charging Mr. Bannon with two

misdemeanor counts of contempt of Congress, in alleged violation of 2 U.S.C.

§192 (A37).

      Mr. Bannon’s initial appearance was on November 15, 2021 (A46). He was

arraigned on November 18, 2021 (A59). On February 4, 2022, Mr. Bannon filed

motions to compel the disclosure of the government’s efforts to obtain his

attorney’s telephone and email records (ECF# 26) and to compel discovery

(A158). The government filed a motion in limine to exclude evidence of argument

relating to good-faith reliance on law or advice of counsel (A311).

      On February 25, 2022, Mr. Bannon filed his opposition to the government’s

motion in limine to exclude advice of counsel (A329). The government filed its

opposition to the motion to compel the disclosure of the government’s efforts to

obtain defense counsel’s records and its opposition to the motion to compel

discovery (ECF# 31). On March 8, 2022, Mr. Bannon filed his reply on his motion

to compel discovery (A371) and on the motion concerning defense counsel’s




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records (ECF# 34).1 The government filed its reply on its motion to exclude

evidence of good-faith reliance on law or advice of counsel (A390). The parties

made additional filings concerning defense counsel’s records (ECF## 36, 38). On

March 16, 2022, the court heard oral argument on the outstanding motions (A457).

      Mr. Bannon filed a surreply to the government’s reply on its motion to

exclude evidence of good-faith reliance on law or advice of counsel (A556), and

then the supplements and responses and replies on the motion, at the court’s

invitation (A565, A722, A725, A735). On April 6, 2022, the Court entered its

Order granting the government’s motion to exclude evidence of good-faith reliance

on law or advice of counsel (A741).

      On April 15, 2022, the government filed motions in limine to Exclude

Evidence of Department of Justice Opinions and Writings (A745), to Exclude

Evidence Relating to Objections the Defendant Waived (A771), and to Exclude

Evidence of the Defendant’s Prior Experience with Subpoenas (A792). Mr.

Bannon filed Notice under Rule 12.3, Federal Rules of Criminal Procedure, of his

intention to rely on a Public-Authority defense (A798), a motion to Exclude

Evidence (the email and telephone records of Mr. Bannon’s attorney obtained by

the government) (A800), and a motion to Dismiss the case (A807; A1629).


1
 The Court indicated that it would address the government’s conduct in obtaining
defense counsel’s personal records and associated action after the trial (A2357-
2358; A3015). The matter is still pending (ECF# 182).

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      On April 29, 2022, the government filed a response to the Rule 12.3 notice

(A1695) and on May 6, 2022, Mr. Bannon filed responses to the government’s

three motions (A1698; A1709; A1720) and the government filed a response to the

Motion to Dismiss (A1745) and to the motion to exclude evidence from defense

counsel’s records (A1806). On May 17, 2022, the parties filed replies in further

support of their motions (A1812; A1818; A1837; A1846; A1855).

      Also in May, amicus briefs were filed on behalf of the United States House

of Representatives and the House Minority Leadership (A2009; A2050).

      On June 13, 2022, members of Congress and staffers who had been

subpoenaed by Mr. Bannon for trial filed a motion to quash the subpoenas

(A2072). Mr. Bannon filed his response to the motion to quash on June 27, 2022

(A2597). Movants filed their reply on July 6, 2022 (A2796). On June 15, 2022,

the court held a hearing on the outstanding motions (A2229). Additional motions,

responses, and replies were filed, including the government’s Omnibus Motion in

Limine and reply (A2408; A2863)), Mr. Bannon’s opposition to it (A2781), his

Motion to Compel Meadows & Scavino Declination Discovery and Reply (A2425;

2842), his opposition to the Motion to Quash the trial subpoenas (A2597), a Reply

on the Motion to Quash (A2796), and the government’s opposition to the Motion

to Compel (A2694). The subpoenaed parties filed their reply on their Motion to

Quash (A2796). The government filed a motion to bar Mr. Bannon from putting



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on evidence concerning former President Trump’s waiver of executive privilege

and Mr. Bannon’s willingness after that to comply with the subpoena and a

response and reply were filed (A2874; A3071; A3106).

      Hearings were held on various motions on July 11, 2022 (A2879 (denying

motion to dismiss) and July 14, 2022 (A3127). Mr. Bannon filed a motion to

Exclude Congressional Evidence of Dismiss the Indictment Based on Granting the

Motion to Quash the trial subpoenas and a response and reply were filed (A3192;

A3303; A3374) and he filed a Motion to Exclude Hearsay Evidence (3386).

      Both sides filed their proposed jury instructions and objections to the other

side’s proposed instructions (A2701; A2768; A3308; A3310; A3316; A4422; A4435).

      The jury trial was conducted from July 18, 2022 to July 22, 2022 (A3393-4295;

A4438), resulting in a guilty verdict (A4592). Mr. Bannon filed a Motion for

Judgment of Acquittal (A4289) and at the court’s invitation, supplemental pleadings

were filed concerning the consequences of granting the motion to quash the trial

subpoenas (A4600; A4634; A4649). Mr. Bannon filed a motion for a new trial

(A4617) and an opposition and reply were filed (A4657; A4676). The motion was

denied (A4682). The sentencing hearing was held on October 21, 2022, with Mr.

Bannon sentenced to 4 months incarceration and a fine of $6500 (A4687; A4787). At

sentencing, the court expressly noted multiple issues in the case that raise substantial

questions, justifying bail pending appeal (A4763). The court ordered that Mr.



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Bannon remain free pending appeal, that this appeal “raises a substantial question of

law that is likely to result in a reversal or an order for a new trial.” (A4779).

Statement of the Facts Relevant to the Issues Presented for Review:

                                    Relevant Facts

      On September 23, 2021, a staff member of the House January 6th Committee

asked Robert J. Costello, Mr. Bannon’s attorney, whether he would accept service

of a subpoena for Mr. Bannon. He agreed. The Committee emailed the subpoena

and attachments to Mr. Costello (A782-783). At all times all communication to and

from the Committee regarding the subpoena was with Mr. Costello. At no time was

there any contact between the Committee and Mr. Bannon. (A359-372)

      On October 5, 2021, Justin Clark, counsel to former President Donald J.

Trump, telephoned Costello and advised him that President Trump was invoking

executive privilege with respect to the subpoena to Mr. Bannon. On October 6, 2021,

Mr. Costello received a letter from Mr. Clark, confirming the “vigorous()” executive

privilege invocation. (A335).

      Upon receipt of this letter from President Trump’s counsel, Costello advised

Mr. Bannon that he (Bannon) did not have the ability to waive executive privilege

and he did not have the ability to discern what documents or communications were

privileged, since that authority belonged to former President Trump (A359-372).

Costello further advised Bannon that he should not provide documents or testify in



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response to the subpoena, because Bannon must be guided by President Trump’s

invocation of privilege, pending an accommodation between the Select Committee

and former President Trump, or a judicial resolution of the matter (Id.). Costello

directed Bannon not to respond to the subpoena. (Id.).

      Costello advised Mr. Bannon that based upon legal authority in binding

authoritative opinions published by the U.S. Department of Justice Office of Legal

Counsel (OLC), Mr. Bannon did not have to appear or produce documents in

response to the Select Committee subpoena. Costello advised that the subpoena

was unconstitutional and a nullity because the Select Committee had confirmed

that it would prohibit counsel for President Trump from being present at the

deposition in order to protect executive privilege – (Id.).

      On October 7, 2021, Costello emailed the Committee a letter detailing the

communication from President Trump’s counsel and advising the Committee that,

Mr. Bannon was obligated to honor the invocation of executive privilege and was

“legally unable to comply with the subpoena” unless and until the Committee

resolved executive privilege with former President Trump or a court ordered

Bannon to comply. (Id.). On October 8, 2021, Costello received a response from

Congressman Bennie G. Thompson, Chair of the Select Committee, which rejected

any assertion of privilege (Id.).




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      On October 13, 2021, Mr. Costello emailed Chairman Thompson. Mr.

Costello provided legal authority for his position, given President Trump’s

assertion of executive privilege, and reiterated that Bannon would fully comply

with the subpoena if President Trump withdrew his assertion of executive

privilege, or if a court ruled on the matter. (A364).

      As Costello has declared under penalty of perjury, Bannon’s response to the

subpoena was based entirely on Costello’s directive to him that because of the

invocation of executive privilege, Bannon was not permitted to comply (A369).

      On October 15, 2021, Chairman Thompson emailed Costello a letter.

Among other things, the letter stated that the Select Committee planned to meet on

October 19, 2021, to consider whether to request that the U.S. House of

Representatives find Bannon in contempt. The letter invited Costello to provide

additional information on Bannon’s behalf by October 18, 2021.

      On October 18, 2021, upon learning about the filing of a civil lawsuit that

appeared to be relevant to the executive privilege issue, Costello sent an email to

Thompson requesting a short adjournment and explaining why (A1994).

      The next morning, on October 19, 2021, the Committee emailed Costello a

response from Chairman Thompson rejecting his request for a one-week

adjournment (A1997). The same day, the Select Committee voted to recommend

that the U.S. House of Representatives find Bannon in Contempt of Congress. On


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October 21, 2021, the U.S. House of Representatives voted 229-202, largely

along party lines, to find Mr. Bannon in Contempt of Congress and referred it to

the Department of Justice (“DOJ”).

      Costello met with government counsel and made clear that Bannon had

acted on his legal advice and at his direction, that the advice was based upon

authoritative DOJ OLC) opinions, and argued that long-standing DOJ policy

precluded a criminal prosecution. (Id.)

      On November 12, 2021, Bannon was indicted. (A37). Additional relevant

facts will be presented in the context of the arguments below.

                       SUMMARY OF THE ARGUMENT

      The lower court erred by prohibiting Mr. Bannon from putting his defenses

before the jury in this case, in violation of his rights under the 5th and 6th

Amendments to the United States Constitution.

      Specifically, the lower court erred in granting the government’s motions in

limine prohibiting Bannon from putting before the jury his reliance on the advice

of counsel and his reliance on formal opinions issued by the Department of

Justice’s Office of Legal Counsel, which his attorney told him prevented him

from in any way responding to the subpoena at issue, since executive privilege

had been invoked by former President Trump. The lower court prohibited



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Bannon from making any reference to the reasons for his response to the

subpoena and prohibited the jury from hearing or considering any defense

through evidence or argument of any kind and through jury instructions.

      The lower court erred in ruling that “willfully makes default” as that phrase

is used in 18 U.S.C. §192, simply requires proof that the defendant received a

valid subpoena and did not comply with it, regardless of the reason – even if that

reason is the invocation of executive privilege - and that is does not require any

belief or understanding by the defendant that his conduct was wrong or unlawful.

      This Court’s decision in Licavoli v. U.S., 294 F.2d 207 (D.C. Cir. 1961)

insofar as it defines “willfully makes default” under 18 U.S.C. §192 cannot be

reconciled with subsequent jurisprudence defining “willfully” in the criminal

context and the lower court misapplied Licavoli where, as here, executive

privilege has been invoked.

      If the lower court correctly applied Licavoli and Licavoli is still viable

authority, 18 U.S.C. §192 is overbroad and void for vagueness as applied here

when executive privilege has been invoked.

      This prosecution violated Mr. Bannon’s rights to due process of law and

was barred by the doctrines of entrapment by estoppel and public authority.




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      The lower court erred in quashing the trial subpoenas served on Committee

members and their staff. Once the motion to quash was granted, the court erred

in failing to exclude their trial testimony or dismiss the indictment when they

appeared voluntarily as government witnesses.

      There was no valid authority for the subpoena based on the Committee’s

composition and rules violations.

                                    ARGUMENT

Standard of Review: Each issue presented in this appeal involves a question of

law and is subject to de novo review. U.S. v. West, 393 F.3d 1302, 1310 (D.C.

Cir. 2005) (statutory construction); U.S. v. Wilson, 605 F.3d 985, 1003 (D.C. Cir.

2010) (Confrontation Clause challenge); The decision to bar Mr. Bannon’s

defenses implicates due process, compulsory process, and Confrontation Clause

claims and was so burdensome on his right to present a defense that they are all

constitutional rights claims subject to de novo review. Kotteakos v. U.S., 328 U.S.

750, 776 (1946) (“substantial or injurious effect or influence in determining the

jury’s verdict”); Washington v. Texas, 388 U.S. 14, 22-23 (1967); U.S. v.

Scheffer, 523 U.S. 303, 308 (1998) (quoting Rock v. Arkansas, 483 U.S. 44, 56

(1987)); Chambers v. Mississippi, 410 U.S. 284, 302-03 (1973). See U.S. v.

Lathern, 488 F.3d 1043, 1046 (D.C. Cir. 2007).



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   THE LOWER COURT’S DECISIONS EXCLUDING MR. BANNON’S
    DEFENSES VIOLATED HIS RIGHTS UNDER THE 5TH AND 6TH
     AMENDMENTS TO THE UNITED STATES CONSTITUTION.
The Court’s Construction Of “Willfully” And Associated Rulings Require A
New Trial

      Every citizen accused of a crime must be afforded the constitutional right to

present a defense. See Crane v. Kentucky, 476 U.S. 683, 690 (1986) (“The

Constitution guarantees criminal defendants ‘a meaningful opportunity to present a

complete defense.’”) (quoting California v. Trombetta, 467 U.S. 479, 485 (1984)).

It is a fundamental right rooted in the Fifth Amendment’s Due Process Clause and

the Sixth Amendment’s Compulsory Process and Confrontation Clauses, as well as

other fair trial rights. That guarantee extends to the evidence and argument a

defendant is allowed to present, and the jury instructions on defense theories.

See, e.g., U.S. v. Johnson, 944 F.2d 980, 988 (2d Cir.) (“A criminal defendant is

entitled to a jury charge that reflects any defense theory for which there is a

foundation in the evidence.”), cert. denied, 126 L. Ed. 2d 364, 114 S. Ct. 418

(1993). When the Government proceeds with a criminal prosecution under 2

U.S.C. §192, the accused is entitled to “every safeguard which the law accords in

all other federal criminal cases.” Russell v. U.S., 369 U.S. 749, 755 (1962). These

fundamental rights were violated in this case.

      In order to bar Mr. Bannon from presenting any defenses and from telling

the jury the story of why he responded to the subpoena as he did the government


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filed a “Motion in Limine to Exclude Evidence or Argument Relating to Good-

Faith Reliance on Law or Advice of Counsel.” (A311). The government’s

overreaching effort in this regard continued throughout the proceedings. See e.g.

ECF## 35, 43, 52, 53, 54, 65, 70, 71, 72, 85, 87, 101.

      The Court granted the Government’s motion, holding that the reason for not

complying with a subpoena is legally irrelevant under 18 U.S.C. §192, even though

it carries a mandatory sentence of incarceration upon conviction [A741-744]. In

its Order, the Court agreed with the Government that under Licavoli v. U.S., 294

F.2d 207 (D.C. Cir. 1961), “willfully” in the context of this criminal statute

requires nothing more than that the defendant acted “deliberately and

intentionally” in not complying with a Congressional subpoena. It found no

requirement to prove that the defendant knew or even had reason to believe that he

was doing anything wrong or unlawful [A741-744].

      Bannon was barred from putting on any evidence or argument that he

believed he responded to the subpoena in the only way the law permitted, once

executive privilege was invoked and that he acted in the manner his experienced

lawyer directed him that he had to act as a matter of law. (A359-372; A741-744).

He was barred from putting his defense theory before the jury in any manner and




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the jury was instructed on the elements and other relevant issues (e.g. Instructions

24 and 25 in a manner that further denied Bannon’s ability to defend.2

      After barring Bannon from presenting to the jury his reasons for responding

as he did to the subpoena – purportedly because the reasons for “noncompliance”

were irrelevant as a matter of law - the court allowed the government to put before

the jury its false, concocted reasons for Mr. Bannon’s failure to comply.

Government counsel argued repeatedly and with impunity that Mr. Bannon

“ignored” the subpoena, “thumbed his nose” at the Committee, had “no

justification” for doing so and that he did it because he thinks he is “above the law”

and “didn’t care” and “had contempt” for the Committee, and more. [A3913-

3916].3 The government was allowed to argue to the jury that executive privilege



2
  The jury expressly was instructed, over Mr. Bannon’s objections, not to consider
his true reasons. [A4581-82]. Bannon’s requested jury instructions were rejected
and his objections to the jury instructions given were overruled. See e.g. (A3362-
3363; A3366; A3367-3375; A4422-4430; A4440-4445). Additionally, the court
was provided with a proffer as to what Mr. Bannon and Mr. Costello would testify
to, but for the court’s conclusion denying the defenses and the right to tell his story
regarding his response to the subpoena (A4383-4385).
3
 The Court also permitted government counsel to argue to the jury that Congress
had unilateral authority to require compliance with its subpoena notwithstanding
the invocation of executive privilege. [e.g., A4468, A4474]. Under no cognizable
jurisprudential principle, consistent with the constitutional concept of separation of
powers, is Congress like a “referee” or in any way recognized as an appropriate
arbiter over a conflict between Article 1 and Article 2 branch interests, especially
given the constitutional presumption of validity for the invocation of executive
privilege. Only an Article 3 court can serve in that role. Separation of Powers also
bars the legislative branch from ordering an executive branch official to take
action. (A1107, n. 28); INS v. Chadha, 462 U.S. 917 (1983).

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did not matter nor did Bannon’s belief that he could not lawfully apply or that his

attorney so advised him (A4473-4474). Throughout the trial and especially in

opening and closing arguments, government counsel repeatedly exploited the order

barring Mr. Bannon from explaining his actions and misrepresented them.

Government counsel told the jury the “whole case is about a guy who just refused

to show up” (A3916). That was demonstrably false and demeans our fundamental

constitutional principle of separation of powers.

      In its Order, the Court indicated that it might have a different view on

“willfully” if this were a matter of first impression and would allow evidence of

advice of counsel; but its hands were tied by this Court’s decision in Licavoli.

(A743). It repeated this theme throughout the case, asserting, finally, “As I’ve

stressed many times, I have serious reservations that the Court of Appeals’

interpretation of ‘willfully’ is consistent with the modern understanding of the

word. It’s not consistent with modern case law surrounding the use of that term, let

alone the traditional definition of the word. But as I’ve previously held and I

reiterate again today, I am bound by Licavoli and its holdings.” [A2993].

      Reliance on advice of counsel fundamentally negates guilt. It bears on

whether a defendant acted “willfully” knowing that the action was unlawful. U.S.

v. Stevens, 771 F. Supp. 2d 556, 567-568 (D. Md. 2011) (failure to instruct a grand

jury on advice of counsel may require dismissal of the indictment); See U.S. v.




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DeFries, 129 F.3d 1293, 1308-1309 (D.C. Cir. 1997) (reversing conviction for

failure to give advice of counsel jury charge).

      A central issue in any criminal prosecution is the mens rea element of the

offense charged. 2 U.S.C. §192 requires proof that the defendant “willfully makes

default.”

      “Willfully” is not surplusage. It adds yet another layer and must be

construed in context. See Bryan v. U.S., 524 U.S. 184, 191 (1998). In criminal

statutes, “willfully” “typically refers to a culpable state of mind.” Bryan, supra,

524 U.S. at 191. “In other words, in order to establish a ‘willful’ violation of a

statute, ‘the Government must prove that the defendant acted with knowledge that

his conduct was unlawful.’” Id. at 191-192 (quoting Ratzlaf v. U.S., 510 U.S. 135,

137 (1994)). To meet its burden of proving a crime that requires that an action was

done “willfully,” the government must prove beyond a reasonable doubt “that the

defendant acted with an evil-meaning mind, that is to say, that he acted with

knowledge that his conduct was unlawful.” Bryan, supra, 524 U.S. at 193. See,

also, Heikkinen v. U.S., 355 U.S. 273, 279 (1958) (“[I]t cannot be said that he acted

willfully - i.e., with a bad purpose or without justifiable excuse”) (internal

quotations omitted); Felton v. U.S., 96 U.S. 699, 702 (1878) (willfully implies a

bad purpose).




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The Court’s Decision Cannot Be Reconciled With The Relevant United States
Supreme Court Jurisprudence On “Willfully.”

      Mr. Bannon, of course, advised the Court on multiple occasions that he

believed the operative definition of “willfully” was legally unsupportable for

several reasons, he also advised the Court that he disagreed that the Court was

bound by Licavoli for several reasons. [A331-55; A567-75]. It is legally

unsupportable.

      Significantly, in the six decades since Licavoli, the Supreme Court has

provided clarity on the meaning of “willfully” in criminal statutes. See Bryan,

supra, 524 U.S. at 196 (to establish “willfulness” the Government must prove that

a defendant knew his conduct was unlawful); Ratzlaff v. U.S., 510 U.S. 135, 138

(1994) (“to give effect to the statutory ‘willfulness’ specification, the Government

had to prove [the defendant] knew the structuring he undertook was unlawful”).

      Recent decisions from the United States Supreme Court emphatically

demonstrate the error and the legally unsupportable idea that “willfully” in the

context of any criminal statute, let alone one purporting to have a mandatory

minimum incarceration element, can dispense with the fundamental requirement

that there be some evidence of a wrongful or criminal purpose. The most obvious

constitutional obstacle to such an interpretation is its violation of due process for

the failure to give fair notice and for the potential for ensnaring the innocent within

its ambit.

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      The following universal principles concerning mens rea, as reaffirmed by

the United States Supreme Court in Ruan v. U.S., 142 S. Ct. 2370, 213 L. Ed. 2d

706 (June 27, 2022) provide a helpful overview:

      “First, as a general matter, our criminal law seeks to punish the “‘vicious

will.’” Morissette v. U.S., 342 U.S. 246, 251 (1952); see also id., at 250, n. 4

(quoting F. Sayre, Cases on Criminal Law, p. xxxvi (R. Pound ed. 1927)). With

few exceptions, “‘wrongdoing must be conscious to be criminal.’” Elonis v. U.S.,

575 U.S. 723, 734 (2015) (quoting Morissette, 342 U.S., at 252). Indeed, we have

said that consciousness of wrongdoing is a principle “as universal and persistent in

mature systems of [criminal] law as belief in freedom of the human will and a

consequent ability and duty of the normal individual to choose between good and

evil.” Id., at 250, 72 S. Ct. 240, 96 L. Ed. 288.

      “Consequently, when we interpret criminal statutes, we normally “start from

a longstanding presumption, traceable to the common law, that Congress intends to

require a defendant to possess a culpable mental state.” Rehaif v. U.S., 588 U.S.

___, 139 S. Ct. 2191, 2195, 204 L. Ed. 2d 594 (2019). We have referred to this

culpable mental state as “scienter,” which means the degree of knowledge

necessary to make a person criminally responsible for his or her acts. See ibid.;

Black’s Law Dictionary 1613 (11th ed. 2019); Morissette, 342 U.S., at 250-252.




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      Applying the presumption of scienter, we have read into criminal statutes

that are “silent on the required mental state”—meaning statutes that contain

no mens rea provision whatsoever “‘that mens rea which is necessary to separate

wrongful conduct from “otherwise innocent conduct.” Elonis, 575 U.S., at 736

(quoting Carter v. U.S., 530 U.S. 255, 269 (2000); emphasis added). The decision

in Ruan is important for its emphasis on the need for a criminal statute to include a

mens rea element in such a way that separates criminal conduct from innocent

conduct and does run the risk of ensnaring the latter within its ambit.

      On this background, the words of Justice Alito, joined in his dissenting

opinion by Justice Thomas, in Rehaif v. U.S., 588 U.S. --, 139 S. Ct. 2191, 204 L.

Ed. 2d 504 (2019), emphasizing that in the criminal context “willfully,” inexorably

requires knowledge that the conduct charged is illegal, are instructive. Justice

Alito wrote, “… where Congress wants to require proof that a criminal defendant

knew his conduct was illegal, it specifies that the violation must be ‘willful.’ In

ordinary speech, “willfulness” does not require or even suggest knowledge of

illegality.” But we have construed the term as used in statutes to mean ‘intentional

violation of a known legal duty.’” Rehaif, 139 S. Ct. at 2205 (Alito, J. dissenting)

(citations omitted). Justice Alito then juxtaposed “knowingly” with “willfully” to

demonstrate that the question of whether “knowingly” requires knowledge of




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illegality is an open question, specifically because Congress’s convention is to use

“willfully” when it wants to make clear that knowledge of illegality is required. Id.

      In Elonis v. U.S., 575 U.S. 723, 734 (2015), the Court quoted from Justice

Jackson’s famous opinion in Morissette v. U.S., 342 U.S. 246, 250-252 (1952), in

which he wrote that the principle that “wrongdoing must be conscious to be

criminal” is “as universal and persistent in mature systems of law as belief in

freedom of the human will and a consequent ability and duty of the normal

individual to choose between good and evil.” The Court in Elonis wrote that for

Justice Jackson, the “central thought” “is that a defendant must be ‘blameworthy in

mind’ before he can be found guilty, a concept courts have expressed over time

through various terms such as mens rea, scienter, malice aforethought, guilty

knowledge, and the like.” Elonis, 575 U.S. at 734, quoting from Morissette, 342

U.S. at 252.

      The Court in Elonis then emphasized the need to require proof that the

defendant knew his conduct was unlawful when “willfulness” is charged, by

presenting examples of cases that highlighted the danger of innocent conduct being

ensnared within the statute’s ambit, absent that requirement. Elonis, 575 U.S. at

735-737.




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      It is impossible to reconcile this Court’s conclusion as to the meaning of

“willfully” in the context of the criminal statute at issue here with these

fundamental principles.4

The Court’s Decision Cannot Be Reconciled With Decisions From This
Circuit And Others.

      This Circuit has, in no uncertain terms, echoed these same fundamental

principles enunciated in Rehaif concerning the threshold requirement that

“willfulness” in a criminal statute requires that the defendant know that his conduct

is wrongful or illegal. In U.S. v. Burden, 934 F.3d 675, 689-693 (D.C. Cir. 2019),

this Court noted that while “willfully” is a word of many meanings, with the

construction often depending on context, in the criminal context, it means acting

with a “bad purpose.” The Court wrote, “In other words, in order to establish a

‘willful’ violation of a statute, the Government must prove that the defendant acted

with knowledge that his conduct was unlawful.” Burden, 934 F.3d at 690, citing

Bryan v. U.S., 524 U.S. 184, 191-192 (1998).


4
 The Court in Rehaif also reaffirmed the fundamental principle that there is a
“longstanding presumption, traceable to the common law, that Congress intends to
require a defendant to possess a culpable mental state regarding 'each of the
statutory elements that criminalizes otherwise innocent conduct.’” Rehaif, 139 S.
Ct. at 2195, quoting from, U.S. v. X-Citement Video, Inc., 513 U.S. 64, 72 (1994).
These scienter requirements “advance (the) basic principle of criminal law by
helping to ‘separate those who understand the wrongful nature of their act from
those who do not.’” Id. at 2196. The Court then characterizes the cases in which
the Court “has emphasized scienter’s importance in separating wrongful from
innocent acts” as “legion.” Id.

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      The Court wrote further, “[W]hen Congress wants to ensure that defendants

will be convicted only if they have a more culpable state of mind, it limits the

crime to conduct that a defendant engages in “willfully.” Id. Like the Supreme

Court in Rehaif, this Court juxtaposed “willfully” with “knowingly” to the same

end. Id. This Court in Burden explained what it meant by suggesting

“willfulness” has different meanings, by differentiating between those limited

situations in which “willfulness” means the Government has to prove that the

defendant knew which law he was breaking and all other statutes charging that the

defendant acted “willfully” in which the Government need only prove that the

defendant knew his conduct was illegal, without knowing which specific statute he

was violating. Burden, 934 F.3d at 690-692. This Court made clear, though, that

in any event, when a criminal statute charges that the defendant acted “willfully”

the Government must at least prove that he knew his conduct was illegal (and the

Court lists numerous cases so holding). Id. at 691-692. See also, U.S. v. Zeese, 437

F. Supp. 3d 86, 94 (D.D.C. 2020); U.S. v. Singh, 979 F.3d 697, 712 (9th Cir. 2020);

U.S. v. Kukushkin, 2023 U.S. App. LEXIS 5493 (2d Cir., March 8, 2023)

(construing “willfully” as requiring proof that the conduct was illegal).

      The Court’s conclusion that “willfully” in 2 U.S.C. §192 does not require the

defendant to have believed or understood his conduct to have been wrong or

unlawful cannot be reconciled with current jurisprudence.



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       The fact that Costello’s directives which Bannon believed he was obligated

to follow were based on the invocation of executive privilege highlights additional

constitutional violations by barring the defenses at issue and instructing the jury

that Mr. Bannon’s belief and the reasons for his response to the subpoena could not

be considered.

The Lower Court’s Definition of “Willfully” Renders the Statute
Unconstitutional as Applied.

       If the lower court’s decision on “willfully” is permitted to apply when

executive privilege is invoked, then 2 U.S.C. §192 is unconstitutional as applied

for several reasons.

       Based on the court’s Order, a defendant who fails to comply on a whim or

for no reason at all, is legally situated vis a vis criminal liability under the statute,

identically to the defendant who (1) fails to comply because his lawyer told him

the subpoena was invalid, (2) fails to comply because he was directed not to

comply in connection with the invocation of executive privilege by a former

President of the United States or (3) fails to comply in reliance on and consistent

with the official, legally binding position of the Department of Justice. The

Government expressly argued in its motion that privilege provides no excuse for

non-compliance under the applicable definition of “willfully.” [A313; 320].

       Executive Privilege was a defense that he urged all along that he must be

permitted to raise under the authority of U.S. v. U.S. House of Representatives, 556

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F. Supp. 150, 152-153 (D.D.C. 1983); Barenblatt v. U.S., 360 U.S. 109 (1959);

Ansara v. Eastland, 442 F.2d 751 (D.C. Cir. 1971); Tobin v. U.S., 306 F.2d 270,

276 (D.C. Cir. 1962), and Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032

(2020).5 The court’s decision on “willfulness” made executive privilege irrelevant.

The failure to differentiate between the invocation of executive privilege and other

situations vis a vis the application of this statute is completely contrary to the

DOJ’s long-standing official policy on this subject.6

      Based on the Court’s Order construing the statute in this regard, 2 U.S.C.

§192 is unconstitutional as applied to Mr. Bannon and the circumstances of this

case because it (1) violates the separation of powers doctrine; (2) is

unconstitutionally overbroad, criminalizing lawful conduct (e.g., non-compliance

based on the invocation of Executive Privilege and reliance on the OLC Opinions)

within its ambit; (3) is unconstitutionally void for vagueness (e.g. when considered

with the DOJ’s official position as reflected in the OLC Opinions, it fails




5
  The DOJ has authoritatively opined that as a matter of law, there is some doubt
that one can be said to have acted “willfully” under this statute when he acts out of
obeyance to the invocation of executive privilege with respect to the subpoena at
issue. [A1114, n.34].
6 The DOJ has made clear its view that the invocation of Executive Privilege stands
alone and is different from a subpoena that triggers any other privilege, because of
the separation of powers issues it implicates. (A251; A620).

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adequately to give notice as to what conduct is subject to criminal prosecution); (4)

unconstitutionally prohibits Mr. Bannon from telling the entire story of his case.7

The Statute As Applied Violates The Constitutional Separation Of Powers
Doctrine.

      The Court’s decision gives Congress a veto over a President’s invocation of

privilege. That position cannot be reconciled with the United States Supreme

Court’s holding in Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2032; 207 L. Ed.

2d 951 (2020) that executive privilege applies in the context of a congressional

subpoena and its invocation provides a basis for noncompliance with a

congressional subpoena. The validity of the invocation surely can be challenged in

a civil enforcement proceeding; but it is presumed to be valid when made and

provides a lawfully recognized basis for the witness’s failure, indeed, inability, to

comply. Id. The statute as applied also violates the separation of powers doctrine

by directly infringing on the President’s right to determine which communications

he deems to be appropriately covered by executive privilege. Doing so is contrary

to established constitutional principles that a statute that “disrupts the proper

balance between the coordinate branches” is unconstitutional and that the



7See, e.g., U.S. v. Nixon, 418 U.S. 683, 709 (1974) (The ends of criminal justice
would be defeated if judgments were to be founded on a partial or speculative
presentation of the facts. The very integrity of the judicial system depends on full
disclosure of all the facts, within the framework of the rules of evidence.”); U.S. v.
Nobles, 422 U.S. 225, 232 (1975).

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President’s invocation of executive privilege is presumptively valid and must be

honored by Congress.8 As the DOJ has written, subjecting executive officials to

prosecution for criminal contempt when they are carrying out the President’s (or

former President’s) claim of Executive Privilege, “would significantly burden and

immeasurably impair the President’s ability to fulfill his constitutional duties.”

(A284).

The Statute As Applied Is Unconstitutionally Overbroad And Void For
Vagueness.

         The “void-for-vagueness” doctrine requires that a penal statute define the

criminal offense with sufficient definiteness that ordinary people can understand

what conduct is prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.”9 The “doctrine prohibiting the enforcement of vague

laws rests on the twin constitutional pillars of due process and separation of

powers.” U.S. v. Davis, 139 S. Ct. 2319, 2325 (2019). “Vague laws contravene the

‘first essential of due process of law’ that statutes must give people ‘of common

intelligence’ fair notice of what the law demands of them.” Id. “Vague laws also

undermine the Constitution’s separation of powers and the democratic self-

governance it aims to protect.” Id. (citations omitted). “No one may be required at


8Nixon v. Admin. of General Services, 433 U.S. 425, 443 (1977); U.S. v. Nixon,
418 U.S. 683, 708 (1974).
9
    Kolender v. Lawson, 461 U.S. 352, 357 (1983).

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peril of life, liberty or property to speculate as to the meaning of penal statutes.10 If

the court’s decision on “willfulness” is allowed to stand when executive privilege

is invoked (or the defendant reasonably believes it to have been invoked), it

exacerbate vagueness problems.11 Vagueness concerns are intensified where a

statute imposes criminal penalties.12 A statute is unconstitutionally overbroad

where, as here, it risks including within its prohibition fully lawful conduct

undertaken in good-faith or because of the uncertainty of the definition of material

terms (like “willfully” or “default”).13

         2 U.S.C. §192, and specifically the phrase “willfully makes default” as the

lower court interpreted it and as the elements of the offense charged have been

characterized, is void for vagueness and overbroad, as applied to the instant case or

any case in which executive privilege is invoked, especially in light of the OLC

Opinions discussed hereinbelow. The Government’s position on the elements of




10
     Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939).
11
  Calautti v. Franklin, 439 U.S. 379, 395 (1979) (“Because of the absence of a
scienter requirement in the provision … the statute is little more than a ‘trap for
those who act in good faith.’”).
12
  Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-99
(1982) (“The Court has … expressed greater tolerance of enactments with civil
rather than criminal penalties because the consequences of imprecision are
qualitatively less severe”).
13
     See, e.g., U.S. v. Stevens, 569 U.S. 460, 473 (2010)

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the crime and that any reason for noncompliance, other than accident, is legally

irrelevant, adopted by the Court in unqualifiedly granting its motion in limine, is

directly at odds with long-established authority that the invocation of executive

privilege must be permitted as a legally cognizable reason for non-compliance. See

e.g., Mazars, 140 S. Ct. at 2032.

      Moreover, in light of the legally binding, published, authoritative position of

the Department of Justice, reflected in the OLC Opinions cited herein that the

criminal statute does not apply and cannot be applied to a current or former

executive branch employee when executive privilege is invoked, the statute, as

applied, is void for vagueness. It does not give constitutionally sufficient notice of

what conduct will expose a person so situated to criminal sanction.

      Statements by the Government, through its agents or officials, concerning

criminal sanctions, which are contradictory or so vague and undefined “as to afford

no fair warning as to what might transgress (the statute)” render the statute

unconstitutionally vague, much in the same way contradictory statements within a

criminal statute render the statute unconstitutional. Raley v. State of Ohio, 360

U.S. 423, 438 (1959). In the instant case, the OLC Opinions go well beyond mere

“contradictory” or “vague” statements – they absolutely give full license, indeed

they command, the very course of conduct Mr. Bannon took in response to the

subpoena (and that was ordered by the invocation of Executive privilege); yet now



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he faces criminal prosecution for actions consistent with published DOJ policy.

This renders the statute, at best, void for vagueness.

       The statute is unconstitutionally overbroad as applied because, as the Court

has defined “willfully makes default” and the elements of the crime, it

unconstitutionally includes within its ambit, fully legal and constitutionally protected

conduct – noncompliance based on the invocation of Executive Privilege and

reliance on the OLC Opinions. Moreover, the Court’s decision, granting the

Government’s motion, which included a prohibition on the Defendant’s reliance “on

law,” is irreconcilable with the well settled principle that in the criminal setting, all

constitutional and other applicable defenses must be afforded the Defendant.14

       The statute also is void for vagueness because the key phrase “willfully

makes default” gives insufficient notice as to what constitutes a “default” in light

of the long line of authority that raises to a constitutional level the imperative that

Congress and the Executive branches must work toward an accommodation in

situations like the one presented here.15 Under these circumstances and the

institutional interests in working toward an accommodation, the term “willfully


14U.S. v. House of Representatives, 556 F. Supp. 150, 152-153 (D.D.C.
1983); Barenblatt v. U.S., 360 U.S. 109 (1959); Ansara v. Eastland, 442 F.2d 751
(D.C. Cir. 1971); Tobin v. U.S., 306 F.2d 270, 276 (D.C. Cir. 1962).
15See e.g., U.S. v. AT&T, 567 F.2d 121, 127 (D.C. Cir. 1977) (“constitutional
mandate” for Congress and Executive Branch to “seek optimal accommodation” to
resolve disputes).

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makes default” is unconstitutionally void for vagueness and overbroad and the

indictment should be dismissed based on the Select Committee’s refusal to work

toward any accommodation.

The Court Erred In Barring The Use Of OLC Opinions.

      The government moved to bar Bannon from using the OLC opinions for any

purpose in his defense (A745). The court granted that motion, barring Bannon

from using defenses that he relied on the OLC opinions and his lawyer’s advice

that they excused/prohibited his compliance with the subpoena once executive

privilege was invoked and barring defenses of entrapment by estoppel and public

authority based on the OLC opinions (A2999-3001). This violated his 5th and 6th

Amendment rights.

OLC Opinions Are Binding, Authoritative Statements Reflecting The Official
Policy Of The Department Of Justice.

      OLC opinions “reflect the legal position of the executive branch” and

“provide binding interpretive guidance for executive agencies.” Casa de Maryland

v. U.S. Dep’t of Homeland Sec., 924 F.3d 684, 718 n.1 (4th Cir. 2019); Citizens for

Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice, 922 F.3d 480, 483 (D.C.

Cir. 2019). The OLC “considers its written formal opinions to be ‘one particularly

important form of controlling legal advice.’” 922 F.3d at 484; (A1269-1597).

They are, in short, the DOJ’s “working law,” with the full “force and effect of

law.” See e.g., NLRB v. Sears Roebuck & Co., 421 U.S. 132, 153 (1975). The legal

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authority that Mr. Bannon relied upon in this case reflects the formal, official, binding,

authoritative position of the Department of Justice since 1956. (A1241-1245; A1262-

1267; A1238-126016; A1269-1274;17 A1159-1161); U.S. v. Viola, 2017 U.S. Dist.

LEXIS 117055, *7-*9; 2017 WL 3175930 (W.D. La., July 26, 2017).

The Fair Notice Requirement of Due Process Requires Reversal.

      The lower court’s decision to bar any evidence or argument on advice of

counsel or any other reason Bannon did not comply with the subpoena, including

the role the OLC Opinions played in those reasons, violated, inter alia, the

constitutional right to due process of law by failing adequately to give fair notice

of what conduct will subject a person to criminal liability or prosecution under the

statute and the conviction must be reversed.




16Mr. Bradbury is the author of one of the OLC Opinions on which Mr. Bannon
relied. See Whether the Department of Justice May Prosecute White House
Officials for Contempt of Congress (February 29, 2008). Mr. Bradbury’s OLC
Opinion provides in no uncertain terms, drawing on OLC official policy papers
going back at least to 1956, and across all administrations, the OLC’s official,
binding, authoritative conclusion, as a matter of binding policy, that former or
current White House advisors who decline to provide documents or testimony, or
who decline to appear to testify, in response to a subpoena from a congressional
committee, based on the President’s assertion of executive privilege, absolutely
cannot be criminally prosecuted by the Department of Justice under the statute
charged here, 2 U.S.C. §192.
https://www.justice.gov/opinion/file/832851/download (A1123-1127)
17
  https://www.justice.gov/sites/default/files/olc/legacy/2010/08/26/olc-legal-
advice-opinions.pdf

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      Statements by the Government, through its agents or officials, concerning

criminal sanctions, which are contradictory or so vague and undefined “as to afford

no fair warning as to what might transgress (the statute)” render the statute

unconstitutionally vague, much in the same way contradictory statements within a

criminal statute render the statute unconstitutional. Raley v. State of Ohio, 360

U.S. 423, 438 (1959).

      In U.S. v. Pennsylvania Industrial Chemical Corp., 411 U.S. 655, 674

(1973), the Court highlighted the due process concerns implicated by agency

writings in the context of a criminal prosecution. The Court wrote that fair warning

of criminality must be provided, even where the agency’s writings do not purport

to “create or define the statutory offense at issue” but nonetheless can be

interpreted as a guide to future conduct. Id. The Court wrote that such agency

policy writings “deprived (PICCO) of fair warning as to what conduct the

Government intended to make criminal” and that when that occurs, “… there can

be no doubt that traditional notions of fairness inherent in our system of criminal

justice prevent the Government from proceeding with the prosecution.” Id.

(citations omitted). See also, U.S. v. Levin, 973 F.2d 463, 468 (6th Cir. 1992);

Floyd D. Shimomura, Federal Misrepresentation: Protecting the Reliance

Interest, 60 Tul. L. Rev. 596, 636-641 (1986); SueAnn D. Billimack, Reliance on




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an Official Interpretation of the Law: The Defense’s Appropriate Dimensions,

1993 U. Ill. L. Rev. 565, 578 (1993).

      The situation here is far more violative of due process than just failing to

give adequate notice of what will constitute criminal conduct. The relevant OLC

Opinions here give license to the course of action Bannon took in response to the

subpoena and the assertion of executive privilege and that is what his lawyer

advised him. (A359-376).

      Costello and Bannon reasonably believed that it has been official consistent

DOJ policy since at least 1984, reflected in its OLC Opinions, that when an

executive branch official (or former executive branch official) receives a

congressional subpoena and the President (or former President) invokes executive

privilege in connection with the subpoena, that person cannot be prosecuted under

§192.18 It is undisputed that Bannon was a close, top advisor to former President

Trump in the executive branch and former President Trump, in the exercise of his

exclusive prerogative, invoked executive privilege with respect to the subpoena

Mr. Bannon received and that underlies this prosecution.

      The OLC opinions were brought to Bannon’s attention by his attorney,

Costello, who advised him that the OLC opinions were binding authority on the



 McGahn, 968 F.3d 755 at 773, 776 (D.C. Cir. 2020) (en banc); A1108; A1006;
18


A1221-1227.

                                         33
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Department of Justice and that they were controlling authority in the circumstances

he faced. Mr. Costello provided Mr. Bannon with legal advice, based on the OLC

opinions and Mr. Bannon acted at all relevant times in the manner Mr. Costello

directed him, based on the OLC opinions. (A362-369)

      First, when former President Trump, through his attorney, Mr. Clark,

advised Mr. Bannon, through Mr. Costello, that he was invoking executive

privilege with respect to the subject matter of the subpoena, Mr. Bannon was duty

bound under the OLC opinions (and relevant case law) to presume that the former

President was within his authority to invoke executive privilege19 and to presume

that the matters so designated by former President Trump were privileged.20

      Second, Mr. Bannon was entitled to rely on binding DOJ policy, as reflected

in the OLC opinions, for his conclusion that executive privilege can be and was

properly invoked with respect to former employees, no longer working in the

Executive Branch, and even to people from outside the Executive Branch whose

privileged counsel the President might seek. (A1070). The governing legal

principles apply even after a Presidential advisor leaves the White House.21


 Nixon v. Adm’r of General Services, 433 U.S. 425, 448-449 (1977); Trump v.
19


Thompson, 142 S. Ct. 680; 211 L. Ed. 2d 579 (January 19, 2022), denial of
certiorari; and Id., 142 S. Ct. at 680-681 (Kavanaugh, J., concurring).
20
   A1039; Senate Select Committee on Presidential Campaign Activities v. Nixon,
498 F.2d 725, 731 (D.C. Cir. 1974); U.S. v. Nixon, 418 U.S. 683, 708-709 (1974).
21 (A1077; A1020).




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        Third, Bannon relied on DOJ OLC opinions that expressly provided that the

Select Committee subpoena was invalid because the committee would not allow

former President Trump’s lawyer to appear to assert and protect executive

privilege. As Costello explained to Mr. Bannon when he went over the OLC

opinions with Bannon, OLC opinions hold that under these unique circumstances,

non-compliance with a congressional subpoena is lawful.22 (A367). Mr. Bannon

relied on this OLC opinion in reasonably believing that the subpoena was not valid

and that compliance was not, therefore, either appropriate or required as a matter of

fact and law. (A367-368).

        Fourth, Mr. Bannon also relied on long-standing, definitive OLC Opinions

that not only advised him not to comply once executive privilege was invoked and

that the matter was out of his hands, but the long-standing policy of the DOJ, that,

under any these circumstances, non-compliance with the subpoena would be lawful

and could not subject him to criminal prosecution.23 (A1055; A1076-1078);

https://www.congress.gov/116/meeting/house/110281/documents/HHRG-116-

JU00-20191204-SD1222.pdf (former advisers).




22(A1061); Attempted Exclusion of Agency Counsel from Congressional
Depositions of Agency Employees, 2019 WL 2563045 (O.L.C.) at *1 (May 23,
2019).
23
     [A1108; A1006; A1221]

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        The district court violated Bannon’s 5th and 6th Amendment rights by barring

any evidence or argument concerning the OLC Opinions, his reliance on them and

his lawyer’s directives based on them to explain his response to the subpoena. 24

(A689; A621; A1081; A1135; A1229; A1195).

The Court Erred in Barring Defenses of Entrapment By Estoppel And Public
Authority.

        Mr. Bannon was entitled to present the defenses of entrapment by estoppel

and public authority based on the OLC Opinions. The district court denied his 5th

and 6th Amendment rights by prohibiting him from using them to pursue defenses

of entrapment by estoppel and public authority. (A2999-3001). He was entitled to

have the jury consider his defenses.

     Entrapment by Estoppel

     The doctrine of entrapment by estoppel was first recognized and explained in

two decisions from the United States Supreme Court handed down many years

ago: Raley v. State of Ohio, 360 U.S. 423 (1959) and Cox v. Louisiana, 379 U.S.

559 (1965).

     In Raley, 360 U.S. 423, 438 (1959), the Court held that the government may not

convict “a citizen for exercising a privilege which the State clearly had told him

was available to him.” Id. The accused was convicted for refusing to answer



24   See also, The Model Penal Code §2.04(3)(b) (1962).

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questions, even though certain Commission members said it was acceptable to

invoke privilege rather than answer the questions posed. Id. The Court reversed,

holding that due process does not permit the criminal conviction of a person who

acts in reliance on authoritative pronouncements by relevant government officials

or a government agency. Id. at 438-39.

      In Cox v. Louisiana, the Supreme Court reiterated the principles enunciated

in Raley, making clear that due process of law does not permit a criminal

prosecution for conduct a State official or agency indicated was lawful. 379 U.S.

559, 571 (1965).

      In U.S. v. Pennsylvania Industrial Chemical Corp., 461 F.2d 468

(3d Cir. 1972), modified and remanded, 411 U.S. 655 (1973), the district court

prohibited the defendant from introducing the evidence and refused to instruct a

jury that the defendant should be acquitted if his actions resulted from affirmative

government representations in written regulations that its acts were lawful.

Defendant was convicted. The conviction was reversed and the Supreme Court

agreed, holding “it was error for the District Court to refuse to permit PICCO to

present evidence in support of its claim that it had been affirmatively misled into

believing that the discharges in question were not a violation of the statute.” U.S. v.

Pennsylvania Indus. Chem. Corp., 411 U.S. 655, 675 (1973) (“PICCO”).




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      The Court also held that the defense applies where there is reliance on a

government agency’s position or interpretation of the law it is charged with

enforcing or on the enforcing agency’s behavior with respect to the activity at issue

and that reliance was reasonable under the circumstances. Id. In PICCO, there was

no direct inquiry by the defendants to the agency nor any communication from the

agency directly to the defendants. Based on PICCO, Bannon was entitled to rely

on the former President’s invocation and directive and on the OLC Opinions and

he reasonably did so. Prohibiting the defense of entrapment by estoppel was

reversible error.

      Public Authority

      The defenses of entrapment by estoppel and public authority are closely

related, with some courts questioning the meaningfulness of the difference between

the two. See e.g., U.S. v. Baker, 438 F.3d 749, 753 (7th Cir. 2006). Nevertheless,

there are some subtle differences. The court barred the public authority defense as

well in violation of the 5th and 6th Amendments. (A3001-3004).

      It is beyond dispute that the President – and therefore OLC – has the

authority to interpret laws. (A1276). Further, the President has, pursuant to the

Oath Clause and the Take Care Clause, the power to “decline to enforce a statute

that he views as unconstitutional.” (A1303) The defense of actual authority is

consistent with the common law defense’s recognition that actions taken “under



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color of public authority” are lawful and cannot be prosecuted criminally.25 It

requires reasonable reliance on the actual authority of an official with respect to the

conduct at issue. U.S. v. Baptista-Rodriguez, 17 F.3d 1354, 1368 n.18 (11th Cir.

1994).

      Mr. Bannon received actual authority in this case for his non-compliance

with the subpoena directly from former President Trump’s invocation of executive

privilege and corresponding directive to Bannon, that Bannon must honor that

invocation with respect to the subpoena. The OLC Opinions referred to herein also

provided a source of the actual authority. (A1597).

      Apparent Authority

      This Circuit’s decision in U.S. v. Barker, 546 F.2d 940 (D.C. Cir. 1976)

supported Bannon’s right to rely on the defense of apparent authority.

      In Barker, the defenses of entrapment by estoppel and apparent authority

converged. The defense of apparent authority requires a reasonable belief

(whether correct or mistaken) that the source for the information relied upon had

the authority to license the conduct at issue and did so. Barker, 546 F.2d at 947-

948, 954-957; Model Penal Code §2.04(3)(b).26


25See U.S. v. Pitt, 193 F.3d 751, 756-758 (3d Cir. 1999); U.S. v. Fulcher, 250 F.3d
244, 254 n.4 (4th Cir. 2001); U.S. v. Reyes-Vasquez, 905 F.2d 1497, 1500 n.5 (11th
Cir. 1990).
26 “Opinions of the Attorney General” as among the “strongest” bodies sources for


authority, Barker, 546 F.2d at 956.

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      Mr. Bannon was entitled as a matter of law to reasonably rely, as he did, on

the directive from former President Trump when he invoked executive privilege

and on the OLC Opinions described herein in proceeding as he did with respect to

the subpoena at issue and to reasonably believe that those two sources had the

authority to license his conduct, especially when his lawyer so advised him.

(A1317).

   The Government Should Have Been Estopped From Prosecuting The Case.

   Separate from the doctrine of entrapment by estoppel, the lower court should

have held the government to be estopped from prosecuting this case because it is

irreconcilable with the legally binding policy and practice of this same prosecuting

agency, as reflected in the OLC Opinions. (A1356; A1385).

      It was the “State,” through the former President of the United States, that

told Mr. Bannon that executive privilege had been invoked and that he was legally

required to honor such invocation with respect to the subpoena and it was the

“State,” through the DOJ, whose official policy Bannon reasonable believed

provided that, (1) the subpoena was legally invalid, (2) the invocation of the

privilege was the former President’s sole prerogative and not Congress’s, (3) the

invocation was presumptively valid, (4) it applies to former employees and outside

consultants, (5) that bringing a criminal prosecution against a person in Mr.

Bannon’s situation would violate the separation of powers doctrine and would be



                                         40
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unlawful, and (6) that, for a variety of reasons, a person so situated cannot be

prosecuted criminally under 2 U.S.C. §192 as a matter of law.

     THE LOWER COURT’S DECISION GRANTING THE MOTION TO
     QUASH TRIAL SUBPOENAS VIOLATED MR. BANNON’S RIGHTS
              UNDER THE 5TH AND 6TH AMENDMENTS.

      Mr. Bannon served trial subpoenas on Select Committee members, staffers,

counsel, and three House leaders, all of whom were directly involved in the issues

underlying this criminal case (A2112-2227). Each had a role in Mr. Bannon’s

prosecution by refusing to accept the former President’s assertion of executive

privilege, by refusing to grant Mr. Bannon’s reasonable request for an

accommodation that would have allowed a judge to resolve the privilege issues, by

denying his request for a one week extension to resolve the competing positions

asserted on the executive privilege issue by Presidents Trump and Biden, in light

of the then pending lawsuit, Trump v. Thompson, and by deciding to make a

criminal referral in this case for reasons most of these subpoenaed witnesses

identified in the media, having nothing to do with any legislative purpose.27


27
  https://twitter.com/RepElaineLuria/status/1514430760996024321?ref_src=
twsrc%5Etfw.
https://twitter.com/repstephmurphy/status/1466224521371914243.
https://twitter.com/repzoelofgren/status/1508574278207393795.
https://twitter.com/RepAdamSchiff/status/1450612312407257089.
https://thehill.com/homenews/3529123-raskin-pence-was-a-hero-on-jan-6-for-
resisting-pressure-campaigns-and-coercive-efforts/.
https://aguilar.house.gov/2021/11/13/aguilar-issues-statement-grand-jury-
indictment-steve-bannon/

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      The subpoena recipients filed a Motion to Quash the subpoenas, invoking a

purported Speech or Debate Clause privilege in order to avoid testifying at Mr.

Bannon’s trial. Three of them did so after having already waived Speech or Debate

Clause protection by submitting themselves to the jurisdiction of this Court by

filing an amicus brief in support of the Government’s position and one of them

already had served as a fact witness for the government, as reflected in discovery.

Each witness was subpoenaed to testify as to specifically identified evidence

critical for a fair trial. After hearing oral argument the Court granted the Motion

To Quash. (A3127).

      Granting the Motion to Quash created a fundamental conflict between Mr.

Bannon’s Fifth and Sixth Amendments rights to compulsory process, to

Confrontation, to effective assistance of counsel, and to present a defense at trial

on the one hand, and the Movants’ Speech or Debate Clause privileges on the other

hand. Because Movants set in motion the prosecution of Mr. Bannon, they should

not have been allowed to retreat behind the Speech or Debate Clause when

evidence of their actions (and their testimony concerning the same) were directly

relevant to Mr. Bannon’s charges, and essential to securing his Fifth and Sixth

Amendment rights. Their assertion of privilege had to yield to the due process and

liberty interests of Mr. Bannon.




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      If, arguendo, the Motion to Quash was appropriately granted, in the context

of this case it violated Mr. Bannon’s Fifth and Sixth Amendment rights and the

only appropriate remedy was to either exclude all Congressional testimony or

dismiss the indictment.

      Courts have held that dismissal of an indictment is the appropriate remedy

when the government’s assertion of a privilege prevents a criminal defendant from

securing documents and testimony relevant and material to the defense’s case. See

Roviario v. U.S., 353 U.S. 53 (1957); U.S. v. Fernandez, 913 F.2d 148 (4th Cir.

1990) U.S. v. David Rainey, 12-CR-00291 (E.D. La. Jul. 14, 2015) (A3217;

A3261). Otherwise, there would be a one-sided presentation of “evidence” at the

criminal trial that is wholly untested by cross-examination or the ability to elicit

critical exculpatory evidence from key Members of Congress and staff. The

Constitution required either the attendance of these congressional witnesses, or the

exclusion of all congressional evidence at the criminal trial. Testimony by staff

members not authorized to make decisions or set policy for the Committee is not a

constitutionally adequate substitute. Instead, the lower court allowed

Congressional testimony for the government with Bannon prohibited from calling

his subpoenaed Congressional witnesses. (A3942-4231).

      Granting the Motion to Quash irretrievably denied Mr. Bannon the exercise

of his Fifth and Sixth Amendment rights (compulsory process, confrontation,



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effective assistance of counsel, due process, fair trial rights). Once it granted the

Motion to Quash, the court erred by refusing to exclude all congressional evidence

at his criminal trial or dismiss the indictment. (A3217; A3261).

      The “predominate thrust” of the Speech or Debate Clause is to protect

critical or disfavored legislators against criminal charges by a hostile executive

branch, or criminal conviction by a hostile judiciary. U.S. v. Johnson, supra, 383

U.S. 169, 182 (1966). Thus, the Speech or Debate Clause protects members of

Congress and their aides against prosecutions that directly impinge upon or

threaten the legislative process.” Gravel v. U.S., 408 U.S. 606, 614 (1972).

      Because the Speech or Debate Clause “was designed to preserve legislative

independence, not supremacy,” Johnson, 383 U.S. at 178, there are circumstances

where a member of Congress (and staff) is subject to the compulsory process of the

courts. For instance, in Gravel v. U.S., the Supreme Court explicitly held that the

Speech or Debate Clause does not immunize a member of Congress from service

of process as a defendant in a civil matter or as a witness in a criminal case. 408

U.S. 606, 614 (1972); see also U.S. v. Cooper, 4 Dall. 341 (1800) (“The

constitution gives to every man, charged with an offence, the benefit of

compulsory process, to secure the attendance of his witnesses. I do not know of

any privilege to exempt members of congress from the service, or the obligations,

of a subpoena, in such cases.”).



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      Where – as here – actions by a Member of Congress or staff infringe upon

the constitutional rights of a citizen, their acts are not protected by the Speech or

Debate Clause. McSurely v. McClellan, 553 F.2d 1277, 1288 (1976).

The Committee violated Mr. Bannon’s constitutional right to due process in

several respects. First, the Select Committee issued its subpoena without lawful

authority. An element of the offense in the criminal trial was that Mr. Bannon was

“summoned as a witness by the authority of the U.S. House of Representatives.”

Each of the Movants has first-hand knowledge that is exculpatory on this element.

Second, the Select Committee rejected Mr. Bannon’s reasonable request for an

accommodation (a one-week extension), even though much longer extensions were

granted to many Select Committee deponents, despite the fact that the

accommodation process is a constitutional imperative when there is a tension

between a legislative subpoena and executive privilege. U.S. v. American Tel. &

Tel. Co., 567 F.2d 121, 126-133 (D.C. Cir. 1977); Comm. on the Judiciary of the

U.S. House of Representatives v. McGahn, 968 F.3d 755, 772 (D.C. Cir. 2020) &

Id. at 778 to end, Henderson, J., dissenting.28




28
  See also Cheney v. U.S. Dist. Court for D. C., 542 U.S. 367, 389-390 (2004)
(quoting Nixon, 418 U.S., at 692); Trump v. Mazars USA, LLP, 140 S. Ct. 2019,
2025 (2020); U.S. v. House of Representatives, 556 F. Supp. 150, 152-153 (D.D.C.
1983); Barenblatt v. U.S., 360 U.S. 109 (1959); Ansara v. Eastland, 442 F.2d 751
(D.C. Cir. 1971); Tobin v. U.S., 306 F.2d 270, 276 (D.C. Cir. 1962).

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      The Framers did not rank some constitutional protections as superior to

others. Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 561 (1976). The Sixth

Amendment entitles Mr. Bannon to a “meaningful opportunity to present a

complete defense.” Crane v. Kentucky, 476 U.S. 683, 690 (1986). Inherent in this

right is the right to offer testimony of witnesses and compel their attendance.

Washington v. Texas, 388 U.S. 14, 19 (1967) (it is fundamental to due process that

“[j]ust as an accused has the right to confront the prosecution’s witnesses for the

purpose of challenging their testimony, he has the right to present his own

witnesses to establish a defense”); see also Chambers v. Mississippi, 410 U.S. 284,

302 (1973) (few rights are more fundamental than that of an accused person to

present witnesses in his own defense.).

      Mr. Bannon tailored the requests narrowly to capture documents that reflect

specific communications by each Movant related to Mr. Bannon, and specific

documents that reflect the bias of the Movant against Mr. Bannon. The intended

testimony of each witness was directly relevant and narrowly tailored. (A2113-

2227) See Welsh v. U.S., 404 F.2d 414, 417-418 (5th Cir. 1968) (quoting

Greenwell v. U.S., 115 U.S. App. D.C. 44 (1963)). Mr. Bannon provided a

detailed proffer and explanation of the material reasons for which he sought their

testimony. (A4330-4354).




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      Subpoenaed witness, Letter, voluntarily participated in an FBI interview

where he stated that the Select Committee had no ranking minority member.

(A237). He later changed his position and claimed that Representative Liz Cheney

is the ranking member on the Select Committee; however, Committee Chairman

Thompson has explicitly said that Representative Cheney is not the ranking

member.29

      The jury was entitled to hear evidence on that issue – which is critical to the

“authority” element of the offense. It was error to quash the subpoena; but if the

ruling were correct, the relief he seeks herein still applies.

      Movants argued that, even though they initiated this prosecution, they are

“high-ranking government officials” who are too important and too busy to appear

as trial witnesses. (A2104); but the cases they cited are inapposite. Again, if the

court was correct in granting the Motion to Quash on this ground, the relief sought

herein applies.

      The only way to preserve Mr. Bannon’s Fifth and Sixth Amendment rights

was to exclude all congressional evidence or dismiss. In a criminal prosecution,

the government’s ultimate responsibility is to ensure justice is done. Jencks v. U.S.,


29
  YOUTUBE, Watch: Jan. 6 House Select Committee Holds First Hearing On
Capitol Riot (July 27, 2021), https://www.youtube.com/watch?v=vHrt44ANHIA at
16:37; see also (Kimberly Wehle, The Case for Subpoenaing Members of
Congress to Testify on the January 6 Insurrection: Democrats have strong
constitutional arguments on their side, THE ATLANTIC (Aug. 26, 2021).

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353 U.S. 657, 670-71 (1957). It follows that under the circumstances, the

Government “can invoke its evidentiary privileges only at the price of letting the

defendant go free.” Id. (citing U.S. v. Reynolds, 345 U.S. 1, 12 (1953)). The

Supreme Court has held, for instance, that a criminal action must be dismissed

when the government, on the grounds of privilege, elects not to produce documents

relevant and material to a government witness’s testimony. Jenks, 353 U.S. at 657;

Id. at 670-71 (holding that it is “unconscionable to allow it to undertake

prosecution and then invoke its governmental privileges to deprive the accused of

anything which might be material to his defense.”); Roviaro v. U.S., 353 U.S. 53,

60-61 (1957).

 THE LOWER COURT ERRED IN DENYING THE MOTION TO DISMISS
  THE INDICTMENT AND IN REFUSING TO ALLOW MR. BANNON TO
   MAKE ARGUMENTS REGARDING THE SUBPOENA’S VALIDITY.

      Mr. Bannon argued below that the indictment had to be dismissed for a lack

of lawful authority for the subpoena, based on the composition of the Committee

and its failure to comply with the requisite rules. (A1629). He also joined the

House Minority Leadership Amicus and incorporates that position here. (A2035-

2070). His motion to dismiss was denied and the court entered an Order barring

him from raising any legal argument or pursuing any claim at trial that the

subpoena was not valid. (A3004-3010). The court excused the government from




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proving the Committee’s authority to issue the subpoena and from proving

compliance with House rules. (A3110).

The Subpoena Was Not Lawfully Issued

        The subpoena commanding Mr. Bannon to appear and produce documents

was not lawfully issued. A subpoena’s validity is an element of the crime charged.

Article I §5 of the United States Constitution provides that “[e]ach House may

determine the rules of its proceedings.” The “rules of Congress and its committees

are judicially cognizable.” Yellin v. U.S., 374 U.S. 109, 114 (1963).30 The rules

provide an essential safeguard because they operate as a check and control on the

actions of the majority.31 When a committee violates the rules by exceeding its

authorized power in a way that threatens the liberty interest of an individual, the

judiciary must protect that individual. See Yellin v. U.S., 374 U.S. 109, 117-119

(1963) (reversing 2 U.S.C. §192 conviction where congressional subcommittee

violated its rules).

     The Select Committee was established by the passage of H. Res. 503 on June

30, 2021. The authority of the Select Committee is set forth in that authorizing




 Citing Christoffel v. U.S., 338 U.S. 84 (1949); U.S. v. Smith, 286 U.S. 6 (1932);
30


and U.S. v. Ballin, 144 U.S. 1 (1892).
 https://www.govinfo.gov/content/pkg/HMAN-117/pdf/HMAN-117.pdf;
31

https://www.govinfo.gov/content/pkg/GPO-HPRACTICE-115/pdf/GPO-
HPRACTICE-115.pdf.

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resolution, together with the House Rules. Any action by the Select Committee that

is inconsistent with the procedures authorized by the full House is ultra vires and

invalid. See, e.g., Kilbourn v. Thompson, 103 U.S. 168, 196 (1880). The Select

Committee may only act within the bounds set forth by the Constitution. Id.

The Composition Of The Select Committee Invalidates The Subpoena.

      The Select Committee that issued the subpoena to Mr. Bannon was not

composed consistent with the authority granted to the Select Committee by the full

House. Its subpoena was therefore invalid. The resolution authorizing the Select

Committee required the Committee to have 13 members, 5 of whom were to be

appointed after consultation with the minority leader. “Shall” leaves no discretion;

but the Committee had 9 members, none of whom was appointed after consultation

with the minority leader – an “unprecedented” step.32

      Because the Committee was not composed as authorized, the subpoena to

Mr. Bannon was invalid. See Christoffel v. U.S., 338 U.S. 84, 90 (1949); Exxon

Corp. v. FTC, 589 F.2d 582, 592 (D.C. Cir. 1978).

      The rights of a deponent and the minority depend on having a ranking

minority member on the Committee. This Committee had none.




 https://www.republicanleader.gov/mccarthy-statement-about-pelosis-abuse-of-
32


power-on-january-6th-select-committee/
https://www.speaker.gov/newsroom/7212-2.

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      The authorizing resolution only allows depositions, pursuant to subpoena,

after consultation with the Select Committee’s ranking minority member.

(Addendum) The authorizing resolution also incorporates both the House Rules

and the separate regulations on use of deposition authority, which both require

consultation with the ranking minority member before seeking depositions

pursuant to subpoena. (Addendum)

      The deposition regulations referenced in both H. Res. 503 and H. Res. 8 also

require ranking minority member consultation. (Addendum).

      The rules require consultation with the ranking minority member before

issuance of a subpoena for deposition testimony, participation by counsel

designated by the ranking minority member in questioning a deponent, and

consultation with the ranking minority member before release of a deposition

transcript. (Addendum)

      The rules governing the Committee are so important that if a witness is not

provided with a copy of Section 3(b) of the rules (describing deposition authority),

he shall not be required to testify. (Addendum). It is undisputed that Mr. Bannon

was not provided with a copy of Section 3(b). (A237; A933; A4780). The court

also violated Mr. Bannon’s 5th and 6th Amendment rights and Rule 30(b) & (d),

Federal Rules of Criminal Procedure, by unilaterally, without consultation with the

parties, adding a jury instruction that completely undermined the record and Mr.



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Bannon’s closing argument on the Rule 3(b) issue, at odds with an earlier ruling in

the case. Mr. Bannon objected (A4435) and cites this as error.

      The subpoena issued to Mr. Bannon was invalid.33 It was not in accord with

the subpoena and deposition authority granted by the House to the Select Committee.

The Subpoena Was A Misguided And Unconstitutional Effort To Make An
Example Of Mr. Bannon.

      The subpoena issued to Mr. Bannon, however, did not advance legislative

purpose. It was an unconstitutional attempt to usurp the executive branch’s

authority to enforce the law, and an effort to impede Mr. Bannon’s First

Amendment rights to association and free speech. Select Committee members have

articulated that Mr. Bannon was targeted to send a message to other potential

deponents. The Select Committee is not authorized to issue a subpoena for that

purpose. Congress’ subpoena power is ancillary to its legislative authority. See

Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031(2020). Accordingly, a

congressional committee may only issue a subpoena that serves a valid legislative

purpose. See McGrain v. Daugherty, 273 U.S. 135, 171 (1927); Kilbourn v.

Thompson, 103 U.S. 168, 195 (1880); Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982).




 The House Rules further state that “[c]ompliance with a subpoena issued by a
33


committee or subcommittee under subparagraph (1)(B) may be enforced only as
authorized or directed by the House.” (A957)

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      Courts considering whether a subpoena serves a valid legislative purpose

consider whether a particular subpoena serves a valid purpose, not whether the

committee has a valid legislative purpose. See Mazars, 140 S. Ct. at 2031. A

committee subpoena issued in order to create a record of alleged violations of law,

or to harass witnesses or send a message, is not valid. A congressional subpoena

issued to investigate and punish perceived criminal wrongdoing unconstitutionally

intrudes on the powers of the Executive Branch. Similarly, a desire to “expose for

the sake of exposure” in not a valid purpose of a congressional subpoena. See

Watkins v. U.S., 354 U.S. 178, 200 (1957). The Indictment fails to allege how the

subpoena issued to Mr. Bannon could validly inform legislation.34 Rather, the

statements of Select Committee members reveal that the subpoena issued to Mr.

Bannon had an invalid purpose.35 Because the subpoena was not issued in

furtherance of a valid legislative purpose, the indictment must be dismissed.




34
   This Court has found that “the January 6th Committee plainly has a ‘valid
legislative purpose’ and its inquiry ‘concern[s] a subject on which legislation could
be had.’” Trump v. Thompson, 20 F.4th 10, 41 (D.C. Cir. 2021) (quoting Trump v.
Mazars USA, LLP, 140 S. Ct. 2019, 2031-32 (2020)), injunction denied, 142 S. Ct.
680 (Jan. 19, 2022), cert. denied, No. 21-932 (Feb. 22, 2022), we raise a different
argument – that the subpoena issued to Mr. Bannon served no valid legislative
purpose.
35 See A827.




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Bannon’s Objections To The Subpoena Were Not Waived

      Mr. Bannon communicated the objections he was aware of to the Select

Committee – to the extent he did not, it was because they were not fully apparent

to him at the time he was scheduled to appear or produce documents.

      In Yellin v. U.S., 374 U.S. 109 (1963), the Court held that procedural

objections are not waived when they were not fully apparent until trial, by which

point the witness has had an opportunity for “searching examination” to determine

whether the Committee has violated its rules or the subpoena is otherwise

deficient. Id. at 122-23. In any event, “he would at least be entitled to submit the

correctness of his belief to a court of law.” Id; see also Liveright v. U.S., 347 F.2d

473, 474-76 (D.C. Cir. 1965).

      Federal courts have “the duty to accord a person prosecuted for [alleged

violations of 2 §192] every safeguard which the law accords in all other criminal

cases.” Russell v. U.S., 369 U.S. 749, 755 (1962). The Courts must apply the same

exacting standards of criminal contempt of Congress as it would in any ordinary

criminal case, “to assure that the congressional investigative power, when enforced

by penal sanctions, would not be abused.” Gojak v. U.S., 384 U.S. 702, ____

(1966), (citations omitted). Thus, in a criminal contempt case, “it is clear as a

matter of law that the usual standards of criminal law must be observed, including

proper allegation and proof of all the essential elements of the offense.” Id. (citing


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Watkins v. U.S., 354 U.S. 178, 208; Russell v. U.S., 369 U.S. 749, 755; U.S. v.

Lamont, 18 F.R.D. 27, 37 (S.D.N.Y.1955), aff'd, 236 F.2d 312 (C.A. 2d Cir.

1956)).

      Whether the subpoena was properly issued goes not only to congressional

authority, but also to the court’s authority to hear related proceedings and the

Government’s burden of proof. In Russell, for example, the Court held that the

subject of the subpoena is “the basic preliminary question which the federal

courts” must decide. Russell, 369 U.S. at 756-57. As such, “pertinency is a

‘jurisdictional concept’ and it must be determined by reference to the authorizing

resolution of an investigation.” Watkins v. U.S., 354 U.S. 178, 201 (1957).

Otherwise, the subpoena is not enforceable.

      It follows that a court’s jurisdiction to hear a criminal contempt of Congress

case hangs on the procedures and rules under which the subpoena was issued. A

witness cannot waive subject matter jurisdiction in any case. Moreover, proving

the validity of the subpoena is an element of the criminal charge, with the burden

on the prosecution.

      Defects in the validity of the subpoena and process related to it also go

directly to the mens rea element of §192 and whether the defendant has “willfully”

made a “default.” Mr. Bannon put the Select Committee on notice of several

procedural objections, including the impact of their refusal to let the privilege

holder’s representative attend any deposition and the impropriety of the


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Committee’s failure to try to come to an accommodation when executive privilege

has been invoked – a process this Court has treated as called a “constitutional

imperative.” The Committee failed to act on those objections. There certainly

cannot be any waiver of the objection to the failure to provide Bannon with a copy

of Rule 3(b); for in the cover letter accompanying the subpoena, Chairman

Thompson misleadingly assured Bannon that all relevant rules were being

provided. It is undisputed that no copy of Rule 3(b) was provided.

      The subpoena was invalid for the foregoing reasons and the lower court

erred by denying Mr. Bannon the chance to put forward his arguments.

                                 CONCLUSION

      Based on all of the foregoing, the lower court’s decision must be reversed.

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                       CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Rule 32(a)(7)(B) of

the Federal Rules of Appellate Procedure because it contains 12,910 words,

excluding the parts of the brief exempted by Rule 32(f).

        This brief complies with the typeface requirements of Rule 32(a)(5) and the

type style requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word in Times Roman 14-point

font.

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                         CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(d) and Cir. R. 25, that on

May 3, 2023, the foregoing was electronically filed with the Clerk of the Court

using the CM/ECF system, which will send a notification to the attorneys of record

in this matter who are registered with the Court’s CM/ECF system.


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   3. House Resolution 503 ......................................................................... Add. 1-2

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   6. Speech of Debate Clause ........................................................................ Add. 3




                                                    Add. i
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2 U.S.C. §192:
      Every person who having been summoned as a witness by the
      authority of either House of Congress to give testimony or to produce
      papers upon any matter under inquiry before either House, or any joint
      committee established by a joint or concurrent resolution of the two
      Houses of Congress, or any committee of either House of Congress,
      willfully makes default, or who, having appeared, refuses to answer
      any question pertinent to the question under inquiry, shall be deemed
      guilty of a misdemeanor, punishable by a fine of not more than $1,000
      nor less than $100 and imprisonment in a common jail for not less
      than one month nor more than twelve months.

The Model Penal Code §2.04(3)(b) (1962) provides in pertinent part:

      “A belief that conduct does not legally constitute an offense is a
      defense to a prosecution for that offense based upon such conduct
      when … [the defendant] acts in reasonable reliance upon an official
      statement of the law … contained in (i) a statute or other enactment;
      (ii) a judicial decision, opinion or judgment; (iii) an administrative
      order or grant of permission; or (iv) an official interpretation of the
      public officer of body charged by law with responsibility for the
      interpretation or enforcement of the law defining the offense.”
      (emphasis added).

H. Res. 503 provides, in pertinent part, as follows:

SEC. 5. PROCEDURE.

* * *
(c) APPLICABILITY OF RULES GOVERNING PROCEDURES
OF COMMITTEES.—Rule XI of the Rules of the House of Representatives shall
apply to the Select Committee except as follows:
* * *(6)(A) The chair of the Select Committee, upon consultation with the
ranking minority member, may order the taking of depositions, including pursuant
to subpoena, by a Member or counsel of the Select Committee, in the same manner
as a standing committee pursuant to section 3(b)(1) of House Resolution 8, One
Hundred Seventeenth Congress.




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(B) Depositions taken under the authority prescribed in this paragraph shall be
governed by the procedures submitted by the chair of the Committee on Rules for
printing in the Congressional Record on January 4, 2021.
(H. Res. 503, 117th Cong. (2021) at § 5) (emphasis added) (A921-923).
H. Res. 8 (adopting rules for the 117th Congress) provides, in pertinent part,

as follows:

      SEC. 3. SEPARATE ORDERS.

          * * *
(b) DEPOSITION AUTHORITY.—

(1) During the One Hundred Seventeenth Congress, the chair of a standing
committee (other than the Committee on Rules), and the chair of the Permanent
Select Committee on Intelligence, upon consultation with the ranking minority
member of such committee, may order the taking of depositions, including
pursuant to subpoena, by a member or counsel of such committee.

(2) Depositions taken under the authority prescribed in this subsection shall be
subject to regulations issued by the chair of the Committee on Rules and printed in
the Congressional Record. (H. Res. 8, 117th Cong. (2021) at § 3(b)) (emphasis
added) (A885).

117th Congress Regulations for Use of Deposition Authority

* * *
2. Consultation with the ranking minority member shall include three days’ notice
before any deposition is taken.
* * *
3. . . . Observers or counsel for other persons, including counsel for government
agencies, may not attend.
* * *
5. . . . When depositions are conducted by committee counsel, there shall be no
more than two committee counsel permitted to question a witness per round. One
of the committee counsel shall be designated by the chair and the other by the
ranking minority member per round.
6. Deposition questions shall be propounded in rounds . . . equal time to the
majority and minority. In each round, the member(s) or committee counsel

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designated by the chair shall ask questions first, and the member(s) or committee
counsel designated by the ranking minority member shall ask questions second.
* * *
10. The chair and ranking minority member shall consult regarding the release of
transcripts . . ..
11. A witness shall not be required to testify unless the witness has been provided
with a copy of Section 3(b) of H. Res. 8, 117th Congress, and these regulations.
(Cong. Rec. H41 (Jan. 4, 2021)) (emphasis added) (A928).

The Speech or Debate Clause (U.S. Const. Art. I § 6, cl. 1) provides in

pertinent part:

      The Senators and Representatives … shall in all Cases, except Treason,
      Felony and Breach of the Peace, be privileged from Arrest during their
      Attendance at the Session of their respective Houses, and in going to and
      returning from the same; and for any Speech or Debate in either House, they
      shall not be questioned in any other Place.




                                      Add. 3
